 

AO M(Rev. 04/10) Application for a Search Wan'ant

UNITED STATES DISTRICT COURT

for the '
Eastem District of Wisconsin

ln the Matter of the Search of:
lnformation associated with tntgentlemansclu@icloud.com

that is stored at premises owned, maintained, controlled, or
operated by Apple lnc., a company headquartered at Apple lnc.,
l Inflnite Loop, Cupertino, CA 95014

case No. 15 "ql `IM <NF>

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the govemment, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 4l(c) is:
13 evidence of a crime; `
l:| contraband, fruits of crime, or other items illegally possessed;
l:| property designed for use, intended for use, or used in committing a crime;
l:| a person to be arrested or a person who is unlawfully restrained

The search is related to violations of: Title 18, United States Code, Sections 159l(a)(2), 1952, and 1956.

The application is based on these facts: See attached affidavit.

l:l Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 31033, the basis of which is set forth on the attached sheet.

 

ApplicarW signature

FBI Special Agent Heather Wright
Printed Name and Title

Swom to fore me and signed in my presence:

Date:

 

 

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City and'State: Milwaukee, Wisconsin Hon. Nancv Joseph . U.S. Magistrate Judge
Printed Name and Title

 

 

 

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

I, Heather Wright, being first duly swom, hereby depose and state as follows:
I. Agent Background & Experience

l. I am a Special Agent with the Federal Bureau of Investigation, and I have been so
employed since July 2010.

2. As part of my duties, I investigate the illegal trafficking of persons for the
purposes of labor and commercial sex acts. I gained experience in the conduct of such
investigations through prior investigations, formal training, and in consultation with law
enforcement partners employed by local, state, and federal law enforcement agencies. Prior to
my assignment with the Milwaukee Division of the FBI, I worked in the pharmaceutical
manufacturing industry as a Programmer Analyst for web applications from September 1999
through March 2001 and an Automation Engineer from June 2003 through July 2010.

3. The facts in this aiiidavit come from my personal observations, my training and
experience, information obtained from citizen witnesses, and information reported to me by other
law enforcement officers during the course of their official duties, all of whom I believe to be
truthful and reliable.

4. Throughout this affidavit, “case agents” refers to the federal, state, and local law
enforcement officers who have participated directly in this investigation, and with whom I have
had regular contact regarding this investigation The case agents in this investigation have
included law enforcement officers from the FBI, Intemal Revenue Service - Criminal
Investigation, the Department of Labor - Office-of lnspector General, the Dodge County

Sheriff’s Office, and the Hartford Police Department.

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5. l This affidavit is intended to show merely that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.
II. Purpose of Affidavit

6. I make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a warrant to requiring Apple Inc. (“Apple”) to disclose records
and other information, including the contents of communications, associated with the Apple ID
mgentlemanscl\_lb@icloud.com, stored at premises owned, maintained, controlled, or operated
by Apple, a company headquartered at l Infinite Loop, Cupertino, California. The warrant I seek
would also authorize the government to search the information described below and in
Attachment A for the things described in Attachment B.

7. This affidavit is intended to show only that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

III. Probable Cause -

A. Overview.

8. Case agents have been investigating Christopher Childs, Jennifer Campbell, and
others for using force, fraud, and coercion to cause victims to engage in commercial sex acts.
Childs currently is charged in Case No. 18-CR-69 (PP) with five counts of sex trafficking of
adult victims by force, fraud, and coercion and one count of sex trafficking of a minor. Childs
and Campbell (who served as Childs’ “bottom” prostitute) also are charged with one count of
conspiracy to engage in sex trafficking

9. The investigation to date has revealed that Childs’ sex trafficking activities
typically took place in strip clubs located in Dodge County, Wisconsin, namely “The Hardware
Store” in Clyman, Wisconsin, and “TNT,” in Lebanon, Wisconsin.

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10. The investigation to date has revealed that the owners, managers, and employees

of TNT and the Hardware Store knew of, facilitated, and profited from Childs’ sex trafficking
offenses. The investigation is continuing into specific conduct by the clubs, their owners, and
their employees, related to their interaction with and assistance to Childs and other pimps
engaged in sex trafficking at the clubs. The investigation also is continuing as to possible money
laundering and other financial crimes related to the proceeds of sex trafficking generated at the
clubs.

B. Information provided by Victim 1.

ll. On May l6, 2017, Victim l, an adult female, reported to Hartford Police and the
Dodge County Sherist Office that Childs was forcing and coercing her to be involved in
commercial sexual activity. A short time later, Victim l made an additional statement about this
conduct to me. Victim l reported that between October 31, 2015, and May 15, 2017, Childs
regularly forced or coerced Victim l to perform prostitution dates, most often in the “champagne
rooms” at TNT or the Hardware Store. Victim l further reported that Childs demanded that he
be given all proceeds that she earned from prostitution dates and dancing at the strip clubs.

12. Victim l described Childs’ rules when working at the strip clubs and performing

prostitution dates. Victim l also described additional rules imposed by Childs that governed

 

nearly every aspect of Victim l’s life. Victim l described the types of physical punishments that
Childs inflicted on her for violating these rules and explained how Childs further threatened her
by describing the punishments he had inflicted on past victims.

13. Victim l explained that at the end of every night, Childs required her to bring him
all of the money that she had made. Initially, Victim l would have to drop the money off at

Childs’ residence every night on the way home from the strip clubs. The club managers would

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provide payment to Victim 1 in a sealed envelope. Later, Childs installed a safe within Victim
l’s home, and Victim 1 was to lock the envelope inside the safe. If there were any discrepancy as
to how much money should be inside the envelope, Childs would call the club managers to
verify how many times Victim 1, and other women working for Childs, had entered the
champagne room.

l4. Victim 1 stated that the owners and managers of both TNT and the Hardware
Store were aware that Victim 1 and others were working for a pimp. According to Victim 1, the
owners and managers of the clubs preferred to hire dancers with pimps because they would work
any shifts required of them, show up on time, and bring in additional high-spending clientele
who wanted to buy sex in the champagne rooms. Dancers with pimps generally had a greater
motivation to earn as much money as they could because of their pimps’ demands, and the club
profited from this arrangement because they took a cut from each champagne room service. The
club owners and managers also knew that they could call Childs if they had any problems with
the women working for him and that Childs would deal with them right away. y

15. Case agents have corroborated Victim l’s statements through other sources,
including witness interviews, past complaints regarding TNT, the Hardware Store, and Childs,
Facebook records, consensually recorded phone calls, and evidence found during the execution
of search warrants.

C. Information provided by Victim 2.

16. On March 29, 2018, I spoke with Victim 2. Victim 2 corroborated Victim l’s
statements regarding Childs and the strip clubs.

17. Victim 2 stated that Timothy Miller, while the manager of TNT, pretended to be

nice to the girls working there; however, after Victim 2 had been working for Childs at TNT for

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some time, Miller himself began acting like a pimp. Miller would set up prostitution dates
between dancers from TNT and Radomir Buzdurn, the owner of TNT. Miller would sometimes
drive dancers to Buzdum’s apartment in order for them to engage in prostitution activities. When
Victim 2 attempted to leave Childs, Childs threatened to contact Miller and have Miller prevent
Victim 2 from dancing at TNT or the Hardware Store, Victim 2 knew that Childs’ girls made a
lot of money for the clubs and that Miller would never agree to let Victim 2 continue to dance at
TNT for fear that Childs would retaliate by pulling his other girls out.

18. Victim 2 also stated that Miller was involved in determining what prices the
dancers in the club could charge for sex acts. She explained that Miller did not want any dancer
charging less than a certain amount per “date” or for particular sexual acts because this would
inevitably drive down the going rate, causing pimps like Childs to withdraw their top-earning
girls from the club.

D. Information provided by CW-l.

19. On March 29, 2018, law enforcement involved in this investigation spoke with
Cooperating Witness 1 (CW-l). CW-l worked at TNT while Childs had his females dancing and
doing prostitution dates at the club. In addition, CW-l took over as club manager at TNT after
Miller was fired in August 2017.

20. CW-l stated that on a few occasions, Childs had approached CW-l and told him
that if CW-l ever had any problems with the victims, Childs would take care of it. Childs also
told CW-l never to schedule “his girls” without first informing Childs, but that if CW-l ever
needed girls to fill the schedule, CW-l should give Childs a call.

21. CW-l stated that it was common knowledge among TNT’s employees that Childs

was abusive to Victim 1 and Victim 2. If either was out of line in any way, Childs’ “bottom,”

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who also danced at TNT, would report the matter to Childs, The next day, the victims would
show up with better attitudes, but also with bruises all over their bodies.

22. On April 10, 2018, CW-l provided additional information to law enforcement
involved in this investigation, CW-l described how TNT uses Facebook and other methods to y
recruit dancers and customers. CW-l described how TNT pays its regular employees partially in
cash, which was not reflected on payroll checks. CW-l further described in detail how TNT
profits from customers and dancers using the club’s champagne rooms.

23. CW-l explained that when Miller was managing TNT, the club was earning
$15,000 to $20,000 per week. Each night the club was open, Miller or CW-l would text the club
owner, Radomir Buzdum, and his wife the sales figures for TNT, including a separate figure for
the income from the champagne rooms. CW-l explained that he typically texted these figures to
the Buzdums at 10 p.m., 12 a.m., and closing

E. Information provided by CW-Z.

24. On April 19, 2018, I spoke with Cooperating Witness 2 (CW-2). CW-2 previously
worked at TNT. CW-2 stated that Childs would occasionally visit TNT on weekends while his
girls were working CW-2 has overheard Miller speaking with Childs on the telephone and has
heard Miller providing Childs with information regarding the number of champagne room visits
Victim 1 and Victim 2 had made that night. Childs would verify how much money the victims
had made and ask whether they had been drinking or had done any drugs.

25. CW-2 stated that it was common knowledge that Childs was abusive to his
victims. In approximately February 2016, Victim 2 had disclosed to CW-2 that she could not get
away from Childs. Victim 2 told CW-2 that Childs was physically abusive toward her and that

she was frightened for her safety and the safety of her children.
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26. CW-2 stated that CW-2 has walked into the champagne rooms at TNT on

numerous occasions and seen dancers and customers completely nude. CW-2 knew that a
champagne room service cost $200, which was split between the club and the girl. Usually,
however, customers would pay $300-$400 in total because of addition of “extras” or “tips,”
which were tallied on a piece of paper and given to the girl at the end of the night in a'sealed
envelope.

27. CW-2 stated that Miller Would allow drug dealers into the basement of the club,
located near the entrance to the apartment which Miller stayed, providing an area for drugs to be
sold. The club’s dancers and regular customers often bought drugs there. CW-2 believed that
Buzdum and Miller might have received a cut of the profits from the drugs sold within the club,

F.' Information provided by Timothy Miller,

28. After Buzdum fired Timothy Miller in August 2017, Miller provided information
to law enforcement about TNT’s operations. Miller also provided law enforcement with
handwritten notebooks that detailed TNT’s various sources of revenue on a nightly basis,
including the champagne room services.

29. Miller explained that although the champagne room was supposed to be for lap
dances, “other things” went on there. TNT took a cut of the charge for the champagne room, but
any other proceeds from the sexual activities that occurred within the champagne room were
considered “extra” and negotiated directly between the dancers and the customers.

30. Miller stated that Buzdum was fully aware that TNT’s dancers were performing
acts of prostitution in the champagne rooms because Buzdum himself would pay for sex with the
dancers. Buzdum had Miller give the dancers money for the sex acts out of TNT’s income at the

end of the night, and disputes would arise between dancers who were compensated disparately.

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Miller provided a lengthy list of names of dancers whom he reported to have exchanged sex for

money with Buzdum.

31. Miller explained that there are cameras located inside the champagne room for
appearances but they are not recording He stated that if police ever come to TNT and request
surveillance footage, they are given tape that shows only the front door instead of the recordings
of the inner areas of the club saved in an additional location inside the club,

v 32. Miller knew of several pimps who used to traffic their girls at TNT, including
Childs and another pimp known as “Ball.” Miller named several women who worked for each
and specifically recalled that Ball’s girls were “all beat up.” Miller stated that he once saw a
dancer receive $30,000 at the club from a prostitution customer and hand all of it over to “Ball.”

33. Miller took care of the “books” for Buzdum and handwrote the figures of the
daily income in notebooks according to source of revenue. Later, Miller began giving CW-3 the
daily totals and having CW-3 keep the books.

34. Miller explained that he once lost one of the notebooks, and thereafter, he had
CW-3 transfer all of the information from the various notebooks into one large notebook. CW-3
did not finish copying all of the information into the new notebook prior to Miller turning the
notebooks over to me.

35. Miller stated that TNT earned a money through a variety of avenues throughout
the night in addition to drinks and other items included in the “till,” such as tip out from the
dancers, lap dance and champagne room fees, and cover charge.

36. Miller stated he and Buzdum would communicate by phone throughout Miller’s
shift about how business was going and about the club’s revenues. Miller estimated Buzdum

easily earned $10,000 and up to $15,000 per week on gaming machines alone. Buzdum’s

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gambling machines were located within TNT and a tavern owned by Buzdum in Watertown, WI.
The gaming machine income was not reflected in Miller’s notebooks. Miller also stated that
Buzdum did not report any of this income on his tax retums.

G. Information provided by CW-3.

37. I first spoke with Cooperating Witness 3 (CW-3) on October 12, 2017. CW-3
began working at TNT at age eighteen and generally was scheduled five days per week.

38. CW-3 was aware that Childs was a pimp who regularly brought his females to
work at TNT. CW-3 stated that Childs’ “bottom” danced under the name “Jada.” I am aware that
“Jada” is the name used by Jennifer Campbell. “Jada” would tell customers that Childs was not a
pimp, however CW-3 and others knew this was not true. CW-3 never saw Childs hit “Jada,”
however “Jada” did whatever Childs told her to do.

39. CW-3 recalled that Victim 1 and Victim 2 both worked for Childs at TNT at the
same time. CW-3 overheard Victim 1 tell others within the club on multiple occasions that
Victim 1 wanted to leave Childs,

40. CW-3 explained that TNT got a “cut” of any champagne room fees. The regular

price for a champagne room service was $200, and TNT would get half of that fee. Club

 

employees, however, would regularly run customers’ credit cards for amounts like $500 and
provide customers the difference in cash so that they could negotiate and pay for sexual services
directly with the dancers.

41. If there were any issues with any of the girls working at the club, Miller or CW-l

would have to deal with the issue.

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42. CW-3 recalled that Buzdum would get drunk and have sex with the dancers at
TNT. Buzdum would tell these women that he was going to pay them and then either pay them
less than what he promised or not pay them at all.

43. On August 13, 2018, I met with CW-3 again. CW-3 said that CW-3 started out
cleaning TNT after hours when CW-3 was too young to be in the club during business hours.
When cleaning the champagne rooms at TNT, CW-3 often would find used condoms, condom
wrappers, tissues, and wet wipes littered all over on weekends or busy weeknights.

44. After turning 19 (in 2012), CW-3 began working as a bartender at the club,
Buzdum would often arrive at the club drunk. Buzdum would drink more when he arrived, then
pay one or more of the females at the club for sex. Buzdum would usually select from the same
group of dancers each time and would direct the bartender to pay the dancer aRer the sex act.
Buzdum would pay the dancer anywhere from $200 to $1,000 out of the club’s cash till.

45. According to CW-3, Carnpbell was one of the females whom Buzdum paid for
sex. At first Buzdum did not know that Campbell worked for a pimp. Even after Miller explained
the situation to him, however, Buzdum continued to pay Campbell for sex.

46. CW-3 would assist Miller with tallying money and sending income information to
Buzdum via text message at the end of the night. When Buzdum and his wife, Dawn Buzdum
(referred to as “Dawn” for clarity), filed for divorce, Dawn began seeking information about
TNT’s earnings. Buzdum had CW-3 purchase and set up a cell phone for TNT in order to send
the “official” nightly numbers to himself and to Dawn simultaneously via a number associated
with the club. ln fact, however, Miller texted Buzdum the club’s full and accurate nightly

earnings in a separate message that Dawn did not receive.

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47. CW-3 set up an iCloud account and a Facebook account associated with the
cellular number of the TNT phone purchased by Buzdum, CW-3 backed this account up to her
computer. CW-3 stated that the iCloud account was tntgentlemansclub@icloud.com and the
phone number associated with the account was (920) 988-6855. CW-3 was the only person who
had access or the password to the iCloud account. When CW-3 left TNT in August 2017, CW-3
had Buzdum sign a contract to have the phone switched into his name. CW-3 “wiped” the phone
from her laptop.

48. On September 6, 2018, based on CW-3’s inforrnation, I caused a preservation
request to be served on Apple for all records relating to the account associated with the Apple ID
Mgentlemanscllb@iclol_r_d.com.

H. Information regarding Apple.

49. Apple is a United States company that produces the iPhone, iPad, and iPod
Touch, all of which use the iOS operating system. Apple provides a variety of services that can
be accessed from Apple devices or, in some cases, other devices via web browsers or mobile and
desktop applications (“apps”). As described below, the services`include email, instant
messaging, and file storage:

a. Apple provides email service to its users.

b. iMessage and FaceTime allow users of Apple devices to communicate in
real-time. iMessage enables users of Apple devices to exchange instant
messages (“iMessages”) containing text, photos, videos, locations, and
contacts, while FaceTime enables those users to conduct video calls.

c. iCloud is a file hosting, storage, and sharing service provided by Apple.
iCloud can be used through numerous iCloud-connected services and can

store iOS device backups and data associated with third-party apps.

d. iCloud-connected services allow users to create, store, access, share, and
synchronize data on Apple devices or via icloud.com on any lntemet-

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connected device. For example, iCloud Mail enables a user to access
email accounts on multiple Apple devices and on icloud.com. iCloud
Photo Library and My Photo Stream can be used to store and manage
images and videos taken from Apple devices, and iCloud Photo Sharing
allows the user to share images and videos with other Apple subscribers

e. Find My iPhone allows owners of Apple devices to remotely identify and
track the location of, display a message on, and wipe the contents of those
devices.

f`. App Store and i'funes Store are used to purchase and download digital
content. iOS apps can be purchased and downloaded through App Store
on iOS devices, or through iTunes Store on desktop and laptop computers.

50. Apple services are accessed through an “Apple ID,” an account created during the
setup of an Apple device or through the iTunes or iCloud services.

51. An Apple ID takes the form of the full email address submitted by the user to
create the account; it can later be changed. Users can submit an Apple-provided email address or
an email address associated with a third-party email provider. The Apple ID can be used to
access most Apple services (including iCloud, iMessage, and FaceTime) only after the user
accesses and responds to a “verification email” sent by Apple to that “primary” email,address.
Additional email addresses (“alternate,” “rescue,” and “notification” email addresses) can also be
associated with an Apple ID.

52. Apple captures information associated with the creation and use of an Apple ID.
During the creation of an Apple ID, the user must provide basic personal information The user
may also provide means of payment for products offered by Apple. The subscriber information
and password associated with an Apple ID can be changed by the user through the “My Apple
ID” and “iForgot” pages on Apple’s website. In addition, Apple captures the date on which the

account was created, the length of service, records of log-in times and durations, the types of

service utilized, the status of the account, the methods used to connect to and utilize the account,

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the Intemet Protocol (“IP”) address used to register and access the account, and other log files

that reflect usage of the account,

53. Additional information is captured by Apple in connection with the use of an
Apple ID to access certain services. For example, Apple maintains connection logs with IP
addresses that reflect a user’s sign-on activity for Apple services such as iTunes Store and App
Store, iCloud, Game Center, and the My Apple ID and iForgot pages on Apple’s website. Apple
also maintains records reflecting a user’s app purchases from App Store and iTunes Store, “call
invitation logs” for FaceTime calls, and “mail logs” for activity over an Apple-provided email
account. Records relating to the use of the Find My iPhone service, including connection logs
and requests to remotely lock or erase a device, are also maintained by Apple.

54. Apple also maintains information about the devices associated with an Apple ID.
When a user activates or upgrades an iOS device, Apple captures and retains the user’s IP
address and identifiers such as the Integrated Circuit Card ID number (“ICCID”), which is the
serial number of the device’s SIM card. Similarly, the telephone number of a user’s iPhone is
linked to an Apple ID when the user signs in to FaceTime or iMessage. Apple also may
maintain records of other device identifiers, including the Media Access Control address (“MAC
address”), the unique device identifier (“UDID”), and the serial number. In addition,
information about a user’s computer is captured when iTunes is used on that computer to play
content associated with an Apple ID, and information about a user’s web browser may be
captured when used to access servicesthrough icloud.com and apple.com. Apple also retains
records related to communications between users and Apple customer service,

55. Apple provides users with five gigabytes of free electronic space on iCloud, and

users can purchase additional storage space. That storage space, located on servers controlled by

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Apple, may contain data associated with the use of iCloud-connected services, including: email
(iCloud Mail); images and videos (iCloud Photo Library, My Photo Stream, and iCloud Photo
Sharing); documents, spreadsheets, presentations, and other files (iWorks and iCloud Drive); and
web browser settings and Wi-Fi network information (iCloud Tabs and iCloud Keychain).
iCloud can also be used to store iOS device backups, which can contain a user’s photos and
videos, iMessages, Short Message Service (“SMS”) and Multimedia Messaging Service
(“MMS”) messages, voicemail messages, call history, contacts, calendar events, reminders,
notes, app data and settings, and other data. Records and data associated with third-party apps
may also be stored on iCloud; for example, the iOS app for WhatsApp, an instant messaging
service, can be configured to regularly back up a user’s instant messages on iCloud. Some of
this data is stored on Apple’s servers in an encrypted form but can be decrypted by Apple.

56. ln my training and experience, evidence of who was using an Apple ID and from
where, and evidence related to criminal activity of the kind described above, may be found in the
files and records described above. For example, stored communications and files connected to
an Apple ID may provide direct evidence of the offenses under investigation, Based on my
training and experience, instant messages, emails, voicemails, photos, videos, and documents are
often created and used in furtherance of criminal activity. In this case in particular, CW-3 set up
an Apple ID of t_n__tgentleman_§gl!_rb@iclo\_rc_l.com for the phone TNT used to contact and text
income figures to the owner of TNT and his wife. These figures specifically included totals from
unlawful sexual activity taking place in the club’s champagne rooms.

57. In addition, the user’s account activity, logs, stored electronic communications,
and other data retained by Apple can indicate who has used or controlled the account, This “user

attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

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search warrant at a residence. F or example, subscriber information, email and messaging logs,
documents, and photos and videos (and the data associated with the foregoing, such as geo-
location, date and time) may be evidence of who used or controlled the account at a relevant "
time. As an example, because every device has unique hardware and software identifiers, and
because every device that connects to the Intemet must use an IP address, IP address and device
identifier information can help to identify which computers or other devices were used to access
the account.

IV. Probable cause to search TNT’s iCloud account.

58. As explained in Section III above, there is probable cause to believe that Childs
has engaged in sex trafficking involving force, fraud, and coercion, and that TNT, its owners,
and it managers benefitted financially from participation in a venture that involved sex
trafficking, in violation of Title 18, United States Code, Section 1591(a)(2). There is also
probable cause to believe that, knowing prostitution was taking place in the champagne rooms
and collecting a cut of each service, TNT and its owners and managers, laundered the proceeds
of that unlawful activity by comingling those proceeds with TNT’s other income, in violation of
Title 18, United States Code, Section 1956. Finally, there is probable cause to believe that TNT
and its owners and managers used facilities in interstate commerce, such as cellular phones and
credit card readers, to promote, manage, and carry on prostitution activity unlawful under
Wisconsin law, in violation of Title 18, United States Code, Section 1952.

59. Based on the evidence detailed in Section III, there also is probable cause to
believe that the iCloud account associated with Apple ID Mentler_nansclub@_icloud.com
contains evidence related to these crimes, including text messages sent in interstate commerce

regarding the nightly proceeds being generated from prostitution activities occurring at TNT.

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V. Conclusion.
I respectfully submit that this affidavit establishes probable cause for the issuance of a
warrant to search the Premises described in Attachment A, and for the seizure of the evidence

described in Attachment B.

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ATTACHMENT A
Premises to be Searched
This warrant applies to information associated with ggentlemansclub@_i'cloud.com
(the “account”) that is stored at premises owned, maintained, controlled, or operated by Apple

Inc., a company headquartered at Apple Inc., 1 Infinite Loop, Cupertino, CA 95014.

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ATTACHMENT B

Particular Things to be Seized
I. Information to be disclosed by Apple
To the extent that the information is within the possession, custody, or control of Apple,
including any dmessages, records, files, logs, or information that have been deleted but are still
available to Apple, or have been preserved pursuant to a request made under 18 U.S.C. §
2703 (f), Apple is required to disclose the following information to the govemment, in
unencrypted form whenever available, for the account listed in Attachment A:

a. All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers, email addresses
(including primary, alternate, rescue, and notification email addresses, and
verification information for each email address), the date on which the account
was created, the length of service, the IP address used to register the account,
account status, methods of connecting, and means and source of payment
(including any credit or bank account numbers);

b. All records or other information regarding the devices associated with, or used in
connection with, the account (including all current and past trusted or authorized
iOS devices and computers), including serial numbers, Unique Device Identifiers
(“UDID”), Advertising Identifiers (“IDFA”), Global Unique Identifiers
(“GUID”), Media Access Control (“MAC”) addresses, Integrated Circuit Card ID
numbers (“ICCID”), Electronic Serial Numbers (“ESN”), Mobile Electronic
Identity Numbers (“MEIN”), Mobile Equipment Identifiers (“MEID”), Mobile
Identification Numbers (“MIN”), Subscriber Identity Modules (“SIM”), Mobile
Subscriber Integrated Services Digital Network Numbers (“MSISDN”),
Intemational Mobile Subscriber Identities (“IMSI”), and Intemational Mobile
Station Equipment Identities (“IMEI”);

c. The contents of all instant messages associated with the account, including stored
or preserved copies of instant messages (including iMessages, SMS messages,
and MMS messages) sent to and from the account (including all draft and deleted
messages), the source and destination account or phone number associated with
each instant message, the date and time at which each instant message was sent,
the size and length of each instant message, the actual IP addresses of the sender
and the recipient of each instant message, and the media, if any, attached to each »
instant message;

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d. The contents of all files and other records stored on iCloud, including all iOS
device backups, all Apple and third-party app data, all files and other records
related to iCloud Mail, iCloud Photo Sharing, My Photo Stream, iCloud Photo
Library, iCloud Drive, iCloud Tabs, and iCloud Keychain, and all address books,
contact and buddy lists, notes, reminders, calendar entries, images, videos,
voicemails, device settings, and bookmarks; `

e. All activity, connection, and transactional logs for the account (with associated IP
addresses including source port numbers), including FaceTime call invitation
logs, mail logs, iCloud logs, messaging and query logs (including iMessage, SMS,
and MMS messages), My Apple ID and iForgot logs, sign-on logs for all Apple
services, Find my iPhone logs, logs associated with iOS device activation and
upgrades, and logs associated with web-based access of Apple services (including
all associated identifiers);

f. All records and information regarding locations where the account was accessed,
including all data stored in connection with Location Services;

g All records pertaining to the types of service used;

h. All records pertaining to communications between Apple and any person
regarding the account, including contacts with support services and records of
actions taken; and

i. All files, keys, or other information necessary to decrypt any data produced in an
encrypted form, when available to Apple (including, but not limited to, the
keybag.txt and fileinfolist.txt files).

II. Information to be seized by the government

All information described above in Section I that constitutes evidence or instrumentalities
of violations of Title 18, United States Code, Sections 1594(b) (conspiracy to engage in sex
trafficking), 1952 (use of facility in interstate commerce to promote, manage, or carry on
unlawful prostitution activity), or 1956 (money laundering), from 2012 to the present, including:

. a. All information and communications in any form, including text messages, instant
messages, emails, and other forms of messages concerning the operations of TNT
Gentleman’s Club, including the scheduling of dancers, nightly revenues at TNT,
amounts that dancers had earned or were owed by TNT, negotiations with dancers’
“handlers” or “pimps,” and other club-related business, whether legal or illegal;

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b. Photographs or videos of dancers or strippers, the interior or exterior of TNT, the
staff of TNT, or any other image related to the operation of TNT;

c. All call and messaging logs;

d. Contact lists, to assist with the interpretation of the communications documented
in the call logs and to identify the parties listed as affiliated with TNT;

e. Evidence of user attribution, showing who used or owned the devices at the time
the things described in this warrant were created, edited, or deleted, such as logs,
phonebooks, saved usemames and passwords, notes, documents and Intemet
browsing history; 1

f. Evidence of use of third-party apps and websites, such as Facebook, related to the
offenses under investigation;

g. The identity and location of the persons who have used the Apple ID;

h. Evidence indicating how and when the account was accessed or used, to determine
the chronological and geographic context of account access, use and events relating
to the crime under investigation and the account subscriber;

i. Any records pertaining to the means and source of payment for services (including
any credit card or bank account number or digital money transfer account
information); and

j. Evidence that may identify any co-conspirators, aiders and abettors, or victims
including records that help reveal their whereabouts.

As used above, the terms “records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form,

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